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 6                               UNITED STATES DISTRICT COURT
 7                                     DISTRICT OF NEVADA
 8                                                ***
 9 UNITED STATES OF AMERICA,           )
                                       )
10                                     )
                     Plaintiff,        )                2:13-cr-00355-GMN-CWH
11             vs.                     )
                                       )
12 CHRISTINE M. GAGNON,                )
                                       )
13                   Defendant.        )                ORDER
   ____________________________________)
14
15                On January 12, 2016, this Court granted the defendant’s request that new counsel be
16 appointed, as stated on the record. (Min. Order (ECF No. 216).)
17                Accordingly, IT IS HEREBY ORDERED that Philip Brown is APPOINTED as
18 counsel for Christine M. Gagnon in place of Michael P. Kimbrell for all future proceedings.
19                Michael P. Kimbrell’s office shall forward the file to Mr. Brown forthwith.
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21                DATED: January 14, 2016
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                                                        ___________________________________
24                                                      UNITED STATES MAGISTRATE JUDGE
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